USCA Case #23-5071      Document #1994242          Filed: 04/11/2023   Page 1 of 8



             [NOT YET SCHEDULED FOR ORAL ARGUMENT]

               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


 IN RE APPLICATION OF THE NEW YORK
 TIMES COMPANY AND CHARLIE
 SAVAGE FOR ACCESS TO CERTAIN
 DOCKETS, ORDERS, LEGAL BRIEFING,                             No. 23-5071
 AND ARGUMENT TRANSCRIPTS
 ANCILLARY TO JANUARY 6 GRAND
 JURY PROCEEDINGS


 IN RE PRESS APPLICATION FOR ACCESS
 TO JUDICIAL RECORDS AND
 PROCEEDINGS ANCILLARY TO
                                                              No. 23-5073
 CERTAIN GRAND JURY PROCEEDINGS
 CONCERNING DONALD J. TRUMP AND
 THE TRUMP ORGANIZATION


            MOTION TO CONSOLIDATE RELATED APPEALS

      Pursuant to Rule 3(b)(2) of the Federal Rules of Appellate Procedure,

Appellants in Docket No. 23-5071, POLITICO LLC and Kyle Cheney, and

Appellants in Docket No. 23-5073, Bloomberg L.P., Cable News Network, Inc.,

The E.W. Scripps Company, POLITICO LLC, and WP Company LLC d/b/a The

Washington Post (all together, the “Press Appellants”), respectfully move the

Court to consolidate the above-captioned appeals, which arise from two related

District Court decisions addressing nearly identical issues of law and common
USCA Case #23-5071        Document #1994242           Filed: 04/11/2023     Page 2 of 8



questions of fact concerning public access to court records ancillary to grand jury

proceedings.

                                  BACKGROUND

      The appeal in Docket No. 23-5071 arises from applications filed in October

2022 by appellants POLITICO LLC and its reporter Kyle Cheney, among others,

for access to judicial records regarding the scope of executive privilege invoked by

former President Donald J. Trump or former Trump Administration officials in any

judicial proceeding(s) ancillary to the grand jury investigation(s) into the 2020

presidential election and the January 6, 2021 certification of that election’s results.

On February 23, 2023, the Honorable Beryl A. Howell, then-Chief Judge of the

U.S. District Court for the District of Columbia, issued an Order and redacted

Memorandum Opinion denying the application in full, concluding that, although

“[t]he sealing of judicial decisions and ancillary judicial records relied on to

resolve matters before the Court is anathema,” and although the Government has

“confirmed” the existence of the grand jury investigation in question, Rule 6(e) of

the Federal Rules of Criminal Procedure and this Court’s decision in McKeever v.

Barr, 920 F.3d 842 (D.C. Cir. 2019) nevertheless require that the requested court

records stay sealed “at least for now and perhaps forever.” In re N.Y. Times Co.,

No. 22-mc-100-BAH, 2023 WL 2185826, at *1-2, *15 (D.D.C. Feb. 23, 2023).




                                           2
USCA Case #23-5071       Document #1994242           Filed: 04/11/2023   Page 3 of 8



      The appeal in Docket No. 23-5073 arises from a similar December 2022

application by a coalition of press organizations, including appellants Bloomberg

L.P., Cable News Network, Inc., The E.W. Scripps Company, POLITICO LLC,

and WP Company LLC d/b/a The Washington Post, for access to judicial records

concerning the Government’s request to hold former President Trump and/or his

representatives in contempt for their responses to a grand jury subpoena seeking

materials bearing classification markings that former President Trump retained

after leaving the White House. On March 11, 2023, in a Memorandum and Order

that essentially incorporated by reference the In re New York Times decision, then-

Chief Judge Howell denied this application as well, concluding that “[e]ven though

the government disclosed the existence of the Subpoena,” and although “the

investigation into the alleged mishandling of classified documents and possible

obstruction of that investigation by the former president and/or his associates has

been the subject of wide reporting,” Rule 6(e) and McKeever again prohibit

unsealing the requested records. Mem. & Order, In re Press Application for

Access to Jud. Records & Proc. Ancillary to Certain Grand Jury Proc. Concerning

Donald J. Trump & the Trump Org., No. 22-mc-128-BAH (D.D.C. Mar. 11, 2023),

ECF No. 6, at 4-5.

      The Press Appellants timely noticed appeals from these two rulings and now

respectfully move this Court to consolidate Docket Nos. 23-5071 and 23-5073.


                                          3
USCA Case #23-5071        Document #1994242           Filed: 04/11/2023    Page 4 of 8



                                   ARGUMENT

      “[T]o achieve the most efficient use of the Court’s resources, as well as to

maintain consistency in its decisions, [this] Court generally will consolidate, on its

own motion or on motion of the parties, all appeals and cross-appeals from the

same district court judgment or order,” and “other cases involving essentially the

same parties or the same, similar, or related issues, may be consolidated” as well.

See Handbook of Prac. & Internal Proc., Part V.A. (D.C. Cir. Mar. 16, 2021); see

also 16A Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. § 3949.2

(5th ed.) (“A court of appeals may choose to consolidate appeals for the sake of

efficiency and to promote consistent treatment.”). These two appeals present all of

those grounds for consolidation.

      First, the two appeals involve substantially similar parties: appellants in

both cases are news organizations (and one of their journalists), represented by

undersigned counsel, and the appellee in both cases is the Government, represented

by attorneys from the Department of Justice.

      Second, the two appeals involve essentially the same questions of law and

effectively common issues of fact. In both cases, the Press Appellants sought

access to judicial records of tremendous public interest that are ancillary to

extraordinary grand jury proceedings involving former President Trump. In both

cases, the Government had officially acknowledged the existence of the relevant


                                           4
USCA Case #23-5071       Document #1994242           Filed: 04/11/2023    Page 5 of 8



grand jury investigations. Both cases “highlight[] the tension that lies between the

important policies underlying grand jury secrecy, as currently codified in Rule

6(e), and the always strong presumption in favor of public access to judicial

proceedings.” In re N.Y. Times, 2023 WL 2185826, at *1 (internal marks omitted).

And in both cases, then-Chief Judge Howell determined that Rule 6(e) and this

Court’s decision in McKeever required that the requested records remain sealed “at

least for now and perhaps forever.” Id. at 2.

      Third, consolidation of these appeals would promote the efficient use of

judicial resources and maintain consistency in the Court’s decisions. In particular,

consolidation would avoid duplicative briefing on and maintain uniformity as to

key issues that then-Chief Judge Howell identified as unresolved by McKeever,

including (1) “how district courts are to evaluate when sealing is no longer

‘necessary’” under Rule 6(e)(6); and (2) how to “grapple with the reality that a

judicial decision resolving a grand jury matter must necessarily apply relevant

legal principles to the facts gained from the grand jury’s investigation, which facts

McKeever expressly holds may not be disclosed unless a Rule 6(e)(3) exception

applies,” even though “the McKeever majority” stated that “a ‘matter occurring

before the grand jury’ does not necessarily refer to a ‘judicial record,’ which

‘assumes a judicial decision.’” In re N.Y. Times, 2023 WL 2185826, at *8 (quoting

McKeever, 920 F.3d at 848)).


                                          5
USCA Case #23-5071      Document #1994242           Filed: 04/11/2023   Page 6 of 8



      Given all of these factors support consolidation, and no factor appears to

weigh against consolidation, the Court should promptly consolidate these appeals

and proceed with consolidated briefing on the important issues discussed above.

                                 CONCLUSION

      For the foregoing reasons, the Press Appellants respectfully request that the

Court consolidate the appeals in Docket Nos. 23-5071 and 23-5073. Undersigned

counsel have conferred with counsel for the Government regarding the requested

relief, and the Government consents to placing the two appeals on the same track

for briefing and argument but opposes consolidated briefing.

     Dated: April 11, 2023          Respectfully submitted,

                                    /s/ Chad R. Bowman
                                    Chad R. Bowman
                                    Charles D. Tobin
                                    Maxwell S. Mishkin
                                    Lauren Russell
                                    BALLARD SPAHR LLP
                                    1909 K Street, NW, 12th Floor
                                    Washington, DC 20006
                                    Telephone: (202) 661-2200
                                    Fax: (202) 661-2299
                                    bowmanchad@ballardspahr.com
                                    tobinc@ballardspahr.com
                                    mishkinm@ballardspahr.com
                                    russelll@ballardspahr.com

                                    Counsel for the Press Appellants




                                         6
USCA Case #23-5071      Document #1994242         Filed: 04/11/2023   Page 7 of 8



                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 1,070 words.

                                     /s/ Chad R. Bowman
                                     Chad R. Bowman
USCA Case #23-5071       Document #1994242           Filed: 04/11/2023    Page 8 of 8



                         CERTIFICATE OF SERVICE

      I hereby certify that on April 11, 2023, I directed the foregoing to be filed

electronically with the Clerk of the Court by using the appellate CM/ECF system.

                                       /s/ Chad R. Bowman
                                       Chad R. Bowman
